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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

NORFOLK SOUTHERN RAILWAY
COMPANY,

                   Plaintiff,

v.                                               Civil Action No. 4:04-CV-088-RH

THE DEPARTMENT OF REVENUE OF THE
STATE OF FLORIDA, JIM ZINGALE,
Executive Director of The Department of
Revenue of the State of Florida, NORMA J.
COOK, Hamilton County Tax Collector, GENE
HARVEY, Baker County Tax Collector, MIKE
HOGAN, Duval County City of Jacksonville Tax
Collector, KENNETH R. MAHAFFEY, Putnam
County Tax Collector, GWENDOLYN M.
MILLER, Nassau County Tax Collector, ROD
NORTHCUTT, Brevard County Tax Collector,
H. RAY WALKER, Columbia County Tax
Collector, and IAN YORTY, Miami-Dade
County Tax Collector, each individual in their
official capacities.

                   Defendants.




                                ORDER FOR DISMISSAL



      The parties have filed a settlement agreement that includes a

consent order for dismissal of this action with prejudice. That order has

been entered. In addition, so that a final judgment may be entered on a

separate document as required by Federal Rule of Civil Procedure 58(a),
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      IT IS ORDERED:

      1. The clerk shall enter judgment stating, “The parties are ordered

to abide by their settlement agreement. The court reserves jurisdiction to

enforce the order to abide by the settlement agreement. All claims in this

action are voluntarily dismissed with prejudice in accordance with

Federal Rule of Civil Procedure 41, with each party to bear its own costs

and attorney’s fees.” The clerk shall close the file.

      2. Any party that objects to the terms of this order or the judgment

to be entered pursuant hereto may file a timely motion to alter or amend

in accordance with Federal Rule of Civil Procedure 59(e).

      DONE AND ORDERED in Chambers, at Tallahassee, Leon County, Florida,

this 10th day of May, 2005.


                                       s/Robert L. Hinkle
                                       Chief United States District Judge
